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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS
                                EAST St. LOUIS DIVISION

ROBERT JAMES PIETTE, #20140301148, )
                                   )
           Plaintiff,              )
                                   )
      -vs-                         )                No. 14-1101-JPG
                                   )
MARC HODGE, JANIS K. JOKISCH,      )
MS. TREADWAY and MR. KITTLES,      )
                                   )
           Defendants.             )

                        ANSWER AND AFFIRMATIVE DEFENSES

       Now Come Defendants, MARC HODGE, JANIS JOKISCH, BETH TREDWAY, and

TONY KITTLE, by and through their attorney, Lisa Madigan, Attorney General of the State of

Illinois, and hereby file their Answer and Affirmative Defenses to Plaintiff’s Complaint (Doc. 1),

stating as follows:

                                  STATEMENT OF CLAIM




RESPONSE: Defendants deny that Plaintiff was wrongly imprisoned 66 days past his
mandatory supervised release date. Defendants admit the business address for Lawrence
Correctional Center.




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RESPONSE: Defendants deny that they refused to do their jobs in a professional and
thorough manner. Defendants deny that Plaintiff’s civil rights were violated.




RESPONSE: Defendants admit the allegations contained in this paragraph.




RESPONSE: Defendants admit the allegations contained in this paragraph.




RESPONSE: Defendants admit that Plaintiff entered the Illinois Department of
Corrections at Statesville N.R.C. on or about June 30, 2011. Defendants lack knowledge
sufficient to admit or deny the remaining allegations contained in this paragraph.




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RESPONSE: Defendants admit the allegations contained in this paragraph.




RESPONSE: Defendants lack knowledge sufficient to admit or deny the allegations
contained in this paragraph.




RESPONSE: Defendants admit that Plaintiff received a calculation sheet on September 21,
2011. Defendants deny that the calculation sheet served to confirm the lack of corrections
of any errors.




RESPONSE: Defendants lack knowledge sufficient to admit or deny the allegations
contained in this paragraph.




RESPONSE: Defendants lack knowledge sufficient to admit or deny the allegations
contained in this paragraph.




RESPONSE: Defendants lack knowledge sufficient to admit or deny the allegations
contained in this paragraph.


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RESPONSE: Defendants lack knowledge sufficient to admit or deny the allegations
contained in this paragraph.




RESPONSE: Defendants lack knowledge sufficient to admit or deny the allegations
contained in this paragraph.




RESPONSE: Defendants lack knowledge sufficient to admit or deny the allegations
contained in this paragraph.




RESPONSE: Defendants lack knowledge sufficient to admit or deny the allegations
contained in this paragraph.




RESPONSE: Defendants lack knowledge sufficient to admit or deny the allegations
contained in this paragraph.



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RESPONSE: Defendants lack knowledge sufficient to admit or deny the allegations
contained in this paragraph.




RESPONSE: Defendant Jokisch lacks present recollection sufficient to admit or deny
whether she received Plaintiff’s information from Ms. Loy. Defendant Jokisch lacks
knowledge sufficient to admit or deny the remaining allegations contained in this
paragraph. Defendants Hodge, Tredway, and Kittle lack knowledge sufficient to admit or
deny the allegations contained in this paragraph.




RESPONSE: Defendant Jokisch lacks present recollection sufficient to admit or deny the
allegations contained in this paragraph. Defendants Hodge, Tredway, and Kittle lack
knowledge sufficient to admit or deny the allegations contained in this paragraph.




RESPONSE: Defendants lack knowledge sufficient to admit or deny the allegations
contained in this paragraph.



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RESPONSE: Defendants lack knowledge sufficient to admit or deny the allegations
contained in this paragraph.




RESPONSE: Defendants lack knowledge sufficient to admit or deny the allegations
contained in this paragraph.




RESPONSE: Defendants lack knowledge sufficient to admit or deny the allegations
contained in this paragraph.




RESPONSE: Defendants Jokisch and Hodge lack present recollection sufficient to admit or
deny the allegations contained in this paragraph. Defendants Tredway and Kittle lack
knowledge sufficient to admit or deny the allegations contained in this paragraph.




RESPONSE: Defendants Jokisch and Hodge admit that court documents related to
amended sentencing must come from the clerk’s office. Defendants Jokisch and Hodge lack

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present recollection sufficient to admit or deny the remaining allegations contained in this
paragraph. Defendants Tredway and Kittle lack knowledge sufficient to admit or deny the
allegations contained in this paragraph.




RESPONSE: Defendants Jokisch and Hodge lack present recollection sufficient to admit or
deny the remaining allegations contained in this paragraph. Defendants Tredway and
Kittle lack knowledge sufficient to admit or deny the remaining allegations contained in
this paragraph.




RESPONSE: Defendants Jokisch and Hodge lack present recollection sufficient to admit or
deny the allegations contained in this paragraph. Defendants Tredway and Kittle lack
knowledge sufficient to admit or deny the allegations contained in this paragraph.




RESPONSE: Defendants Jokisch and Hodge lack present recollection sufficient to admit or
deny the allegations contained in this paragraph. Defendants Tredway and Kittle lack
knowledge sufficient to admit or deny the allegations contained in this paragraph.




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RESPONSE: Defendants Jokisch and Hodge lack present recollection sufficient to admit or
deny the allegations contained in this paragraph. Defendants Tredway and Kittle lack
knowledge sufficient to admit or deny the allegations contained in this paragraph.




RESPONSE: Defendants Jokisch and Hodge lack present recollection sufficient to admit or
deny the allegations contained in this paragraph. Defendants Tredway and Kittle lack
knowledge sufficient to admit or deny the allegations contained in this paragraph.




RESPONSE: Defendant Jokisch lacks present recollection sufficient to admit or deny the
allegations contained in this paragraph. Defendants Hodge, Tredway, and Kittle lack
knowledge sufficient to admit or deny the allegations contained in this paragraph.




RESPONSE: Defendant Jokisch lacks present recollection sufficient to admit or deny the
allegations contained in this paragraph. Defendants Hodge, Tredway, and Kittle lack
knowledge sufficient to admit or deny the allegations contained in this paragraph.




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RESPONSE: Defendant Jokisch lacks present recollection sufficient to admit or deny the
allegations contained in this paragraph. Defendants Hodge, Tredway, and Kittle lack
knowledge sufficient to admit or deny the allegations contained in this paragraph.




RESPONSE: Defendant Hodge lacks present recollection sufficient to admit or deny the
allegations contained in this paragraph. Defendants Jokisch, Tredway, and Kittle lack
knowledge sufficient to admit or deny the allegations contained in this paragraph.




RESPONSE: Defendants lack knowledge sufficient to admit or deny the allegations
contained in this paragraph.




RESPONSE: Defendant Kittle lacks present recollection sufficient to admit or deny the
allegations contained in this paragraph. Defendants Jokisch, Hodge, and Tredway lack
knowledge sufficient to admit or deny the allegations contained in this paragraph.




RESPONSE: Defendant Kittle denies that this is an accurate description of his September
2012 meeting with Plaintiff. Defendant Kittle denies that he discussed Plaintiff’s sentencing
issue with Plaintiff during this time. Defendant Kittle lacks present recollection sufficient to
admit or deny the remaining allegations contained in this paragraph. Defendants Jokisch,
Hodge, and Tredway lack knowledge sufficient to admit or deny the allegations contained
in this paragraph.


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RESPONSE: Defendant Kittle denies that this is an accurate description of his meetings
with Plaintiff during this approximate one-month time period. Defendant Kittle denies that
he discussed Plaintiff’s sentencing issue with Plaintiff during this time. Defendant Kittle
lacks present recollection sufficient to admit or deny the remaining allegations contained in
this paragraph. Defendants Jokisch, Hodge, and Tredway lack knowledge sufficient to
admit or deny the allegations contained in this paragraph.




RESPONSE: Defendants lack knowledge sufficient to admit or deny the allegations
contained in this paragraph.




RESPONSE: Defendant Tredway lacks present recollection sufficient to admit or deny
interactions with Plaintiff. Defendant Tredway lacks knowledge sufficient to admit or deny
the remaining allegations contained in this paragraph. Defendants Jokisch, Hodge, and
Kittle lack knowledge sufficient to admit or deny the allegations contained in this
paragraph.




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RESPONSE: Defendant Tredway lacks present recollections sufficient to admit or deny the
allegations contained in this paragraph. Defendants Jokisch, Hodge, and Kittle lack
knowledge sufficient to admit or deny the allegations contained in this paragraph.




RESPONSE: Defendants lack knowledge sufficient to admit or deny the allegations
contained in this paragraph.




RESPONSE: Defendants lack knowledge sufficient to admit or deny the allegations
contained in this paragraph.




RESPONSE: Defendant Tredway lacks present recollections sufficient to admit or deny the
allegations contained in this paragraph. Defendants Jokisch, Hodge, and Kittle lack
knowledge sufficient to admit or deny the allegations contained in this paragraph.




RESPONSES: Defendants lack knowledge sufficient to admit or deny the allegations
contained in this paragraph.




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RESPONSE: Defendants admit the allegations contained in this paragraph.




RESPONSE: Defendants lack knowledge sufficient to admit or deny the allegations
contained in this paragraph.




RESPONSE: Defendants lack knowledge sufficient to admit or deny the allegations
contained in this paragraph.




RESPONSE: Defendants lack knowledge sufficient to admit or deny the allegations
contained in this paragraph.




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RESPONSE: Defendants lack knowledge sufficient to admit or deny the allegations
contained in this paragraph.




RESPONSE: Defendants Jokisch and Hodge lack present recollection sufficient to admit or
deny the allegations contained in this paragraph. Defendants Tredway and Kittle lack
knowledge sufficient to admit or deny the allegations contained in this paragraph.




RESPONSE: Defendants lack knowledge sufficient to admit or deny the allegations
contained in this paragraph.




RESPONSE: Defendants deny that they did not perform their jobs in a professional and
thorough manner.




RESPONSE: Defendants lack knowledge sufficient to admit or deny the allegations
contained in this paragraph.


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RESPONSE: Defendants lack knowledge sufficient to admit or deny the allegations
contained in this paragraph.




RESPONSE: Defendant Jokisch denies insinuating that Plaintiff falsified or forged
government documents. Defendant Jokisch lacks knowledge sufficient to admit or deny the
remaining allegations contained in this paragraph. Defendants Hodge, Tredway, and Kittle
lack knowledge sufficient to admit or deny the allegations contained in this paragraph.




RESPONSE: Defendants deny that they were clearly aware of Plaintiff’s complaint.
Defendants lack knowledge sufficient to admit or deny the remaining allegations contained
in this paragraph.




RESPONSE: Defendants deny that they failed to perform their jobs in a professional and
thorough manner. Defendants deny that Plaintiff was wrongfully imprisoned for 66 days
past his out date. Defendants deny any violation of Plaintiff’s Eighth Amendment rights,
Plaintiff’s due process rights, or the deliberate indifference standard.

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RESPONSE: Defendants deny the allegations contained in this paragraph.




RESPONSE: Defendants deny the allegations contained in this paragraph.

                                 REQUEST FOR RELIEF




RESPONSE: Defendants deny that Plaintiff is entitled to compensatory damages, punitive
damages, lost wages, fees, or to any relief whatsoever.

                                    JURY DEMANDED

      Defendants demand a trial by jury in this matter.

                               AFFIRMATIVE DEFENSES

      1. Sovereign Immunity

      To the extent that Plaintiff makes claims for monetary damages against Defendants in

their official capacities, they are barred by the doctrine of sovereign immunity under the

Eleventh Amendment.


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       2. Qualified Immunity

       At all times relevant herein, Defendants acted in good faith in the performance of their

official duties and without violating Plaintiff’s clearly-established statutory or constitutional

rights of which a reasonable person would have known. Defendants are therefore protected from

suit by the doctrine of qualified immunity.

       3. Failure to Exhaust Administrative Remedies

       To the extent that the Plaintiff has failed to exhaust his administrative remedies prior to

the initiation of this cause of action, Plaintiff’s claims are barred by the Prison Litigation Reform

Act (42 U.S.C. § 1997).



                                              Respectfully submitted,

                                              MARC HODGE, JANIS JOKISCH,
                                              BETH TREDWAY, and TONY KITTLE,

                                                      Defendants,

                                              LISA MADIGAN, Attorney General,
                                              State of Illinois,

                                                      Attorney for Defendants,

                                              By:   s/ Zechariah Feng
                                                      Zechariah Feng, #6312786
                                                      Assistant Attorney General
                                                      500 South Second Street
                                                      Springfield, Illinois 62706
                                                      (217) 782-2077 Phone
                                                      (217) 782-8767 Fax
                                                      E-Mail: zfeng@atg.state.il.us




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                               CERTIFICATE OF SERVICE

        I hereby certify that on February 2, 2015, the foregoing document, Defendants’ Answer
and Affirmative Defenses to Plaintiff’s Complaint, was electronically filed with the Clerk of the
Court using the CM/ECF system, and I hereby certify that on the same date, I caused a copy of
the foregoing described document to be mailed by United States Postal Service, in an envelope
properly addressed and fully prepaid, to the following non-registered participant:

       Robert James Piette, #20140301148
       Cook County Jail
       2600 South California Avenue
       P. O. Box 089002
       Chicago, Illinois 60608


                                            Respectfully Submitted,



                                              s/ Zechariah Feng
                                             Zechariah Feng, #6312786
                                             Assistant Attorney General
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